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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                        )      Chapter 11
                                                        )
                                                        )      Case No. 19-76260
                                                        )      Case No. 19-76263
In re:                                                  )      Case No. 19-76267
                                                        )      Case No. 19-76268
Absolut Facilities Management, LLC, et al.              )      Case No. 19-76269
                                                        )      Case No. 19-76270
                          Debtors.1                     )      Case No. 19-76271
                                                        )      Case No. 19-76272
                                                        )
                                                        )      (Jointly Administered)
                                                        )

         NOTICE OF CONTINUED HEARING ON CERTAIN FIRST DAY MOTIONS

        PLEASE TAKE NOTICE that on September 10, 2019, the Debtors filed petitions for
relief under chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court
for the Eastern District of New York.



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             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266);
Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641);
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and
Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC
(7924).



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       PLEASE TAKE FURTHER NOTICE that on September 12, 2019 at 2:00 p.m., a hearing
was held before the Honorable Alan S. Trust, United States Bankruptcy Judge of the United States
Bankruptcy Court for the Eastern District of New York, Alfonse M. D’Amato Federal Courthouse,
290 Federal Plaza, Central Islip, New York 11722, Courtroom 960 on certain first day motions.

       PLEASE TAKE FURTHER NOTICE that a continued hearing on the matters set forth
below will be held before the Honorable Alan S. Trust, United States Bankruptcy Judge of the
United States Bankruptcy Court for the Eastern District of New York, Alfonse M. D’Amato
Federal Courthouse, 290 Federal Plaza, Central Islip, New York 11722, Courtroom 960 on
September 18, 2019, at 2:00 p.m.:

              Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
               Authorizing Postpetition Financing; (II) Granting Liens and Superpriority
               Claims to Postpetition Lender; and (III) Scheduling Final Hearing (Dkt. No.
               4);

              Debtors’ Emergency Motion for Order Under 11 U.S.C. §§ 105(a) and 366
               (I) Prohibiting Utility Companies from Altering or Discontinuing Service
               on Account of Prepetition Invoices, (II) Approving Deposit Account As
               Adequate Assurance of Payment, and (III) Establishing Procedures for
               Resolving Requests By Utility Companies for Additional Assurance of
               Payment (Dkt. No. 5);

              Debtors’ Emergency Motion for Entry of Interim and Final Orders
               Authorizing the Debtors to Pay Certain Prepetition Claims of Critical
               Vendors (Dkt. No. 10);

              Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing
               the Debtors to (A) Continue Using their Cash Management System and (B)
               Maintain Existing Bank Accounts and Business Forms; (II) Waiving
               Certain Deposit Guidelines and (III) Granting Related Relief (Dkt. No. 11);

              Motion for Entry of an Order (I) Authorizing the Debtors to (A) Continue
               Insurance Coverage Entered Into Prepetition, (B) Pay and Satisfy
               Prepetition Obligations Related thereto, Including Broker Fees and
               Premium Financing Obligations; and (II) Granting Related Relief (Dkt. No.
               12); and

              Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing,
               But Not Directing, Debtors to (A) Pay and Honor Prepetition Employee
               Obligations, and (B) Maintain and Continue Certain Compensation and
               Benefit Programs Postpetition; and (II) Granting Related Relief (Dkt. No.
               13).




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        PLEASE TAKE FURTHER NOTICE that if anyone wishes to be heard with respect to
any of the foregoing matters, they must attend the hearing. The hearing may be adjourned from
time to time in open court.

        PLEASE TAKE FURTHER NOTICE that if anyone would like to receive copies of any
of the motions or applications set forth above, (a) they may access such documents online from
either   the    Bankruptcy Court’s         electronic    case   filing system       located   at
http://www.nyeb.uscourts.gov/ or the website of the Debtors’ proposed claims agent at
primeclerk.com, or (b) they may contact Schuyler G. Carroll, Esq., Daniel Besikof, Esq., or Noah
Weingarten, Esq. at Loeb & Loeb LLP, 345 Park Avenue, New York, New York 10154, by
telephone at (212) 407-4000 or by e-mail at scarroll@loeb.com; dbesikof@loeb.com; or
nweingarten@loeb.com.

Dated:     September 16, 2019                      LOEB & LOEB LLP
           New York, New York
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                                                   and Debtors-in-Possession




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